
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that,a writ of certiorari issue herein, directing the Honorable David Gertler, - Judge of the Civil District 'Court for the Parish of Orleans, to transmit to the 'Supreme Court of Louisiana, on or before the 15th1 day of January, 1968, the record in duplicate, pr a certified cqpy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
,Tt is further ordered-that the aforesaid Judge of said Court and the respondent through his attorney shall show cause, in this court, on the date aforesaid, at 11 o’clock A.M., why the relief prayed for in the petition, of the relator should not be granted.
